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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


 United States of America                      )       Case No.      4:02CR253-002
                                               )
         Plaintiff,                            )
                                               )
    -vs-                                       )              ORDER
                                               )
 Antonio Jones                                 )
                                               )
         Defendant.                            )
                                               )



           A Violation Report was filed in this case on November 9, 2009, and the Court referred

 this matter to Magistrate Judge George J. Limbert to conduct appropriate proceedings and to file

 a Report and Recommendation. A Report and Recommendation was filed on November 13,

 2009.

           The Court adopts the report and recommendation of Magistrate Judge George J. Limbert

 and finds the defendant in violation of his terms and conditions of supervised release as stated in

 the Violation Report.

           A hearing was conducted on November 24, 2009. The defendant, Antonio Jones, and his

 counsel, Damian Billak, appeared. Also present were Assistant United States Attorney Samuel

 Yannucci and United States Probation Officer Kevin Clements.

           IT IS ORDERED that the defendant be committed to the custody of the Bureau of

 Prisons for a term of six (6) months with credit for time already served in custody since

 November 7, 2009. Supervised release is extended for two (2) years upon release.



  November 24, 2009                            s/David D. Dowd, Jr.
     Date                                      DAVID D. DOWD, JR.
                                               UNITED STATES DISTRICT JUDGE
